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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


SCOTT BIRNBAUM                           Civil Action No. 2:20-cv-01417-ES-CLW
       Plaintiff,

      v.

  IHOP PROPERTIES, INC.                   60 DAY ORDER ADMINISTRATIVELY
                                          TERMINATING ACTION
       Defendant


        It having been reported to the Court that the above-
  captioned action has been settled,
        IT IS on this        8th   day of October   , 2020,

        ORDERED that this action and any pending motions are
  hereby administratively terminated; and it is further
        ORDERED that this shall not constitute a dismissal Order
  under the Federal Rules of Civil Procedure; and it is further
        ORDERED that within 60 days after entry of this Order (or
  such additional period authorized by the Court), the parties
  shall file all papers necessary to dismiss this action under
  Federal Rule of Civil Procedure 41 or, if settlement cannot
  be consummated, request that the action be reopened; and it is
  further
           ORDERED   that,    absent   receipt   from   the    parties   of
  dismissal papers or a request to reopen the action within the 60-
  day period, the Court shall dismiss this action, without further
  notice, with prejudice and without costs.

                               s/Esther Salas
                               Esther Salas, U.S.D.J.
